               Case 1:04-cr-05171-AWI Document 76 Filed 04/12/06 Page 1 of 1


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                        IN THE UNITED STATES DISTRICT COURT FOR THE
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                                 EASTERN DISTRICT OF CALIFORNIA
 9
10        UNITED STATES OF AMERICA,           )           CR F 04-5171 AWI
                                              )
11                          Plaintiff,        )           ORDER FINDING
                                              )           DEFENDANT WAS BORN ON
12              v.                            )           JULY 20, 1987 AND
                                              )           GRANTING MOTION TO
13        LUIS CASTENEDA ORTEGA               )           DISMISS
          (HUGO ORTEGA SOTELO),               )
14                                            )
                            Defendant.        )
15        ____________________________________)
16
17           Defendant’s motion to dismiss was heard on April 10, 2006.   After reviewing the
18   parties’ briefs, evidence, and arguments, the court ORDERS as follows:
19   1.      Defendant Luis Casteneda Ortega’s true name is Hugo Ortega Sotelo;
20   2.      Defendant was born on July 20, 1987;
21   3.      Defendant’s motion to dismiss is GRANTED; and
22   4.      The Clerk of the Court is DIRECTED to serve a copy of this order on the United States
23           Marshal.
24
25   IT IS SO ORDERED.
26   Dated:     April 12, 2006                        /s/ Anthony W. Ishii
     0m8i78                                     UNITED STATES DISTRICT JUDGE
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